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                    UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION
 EVDOKIA NIKOLOVA                 §
  Plaintiff,                      §
                                  §
 V.                               §        CASE NO. 1:19-cv-00877-RP
                                  §
 UNIVERSITY OF TEXAS AT AUSTIN,   §
 Defendant.                       §
               PLAINTIFF’S ADVISORY TO THE COURT REGARDING
              PLAINTIFF’S MOTION FOR JUDGMENT AND FRONT PAY

TO THE HONORABLE JUDGE ROBERT PITMAN:

       Counsel for Plaintiff Dr. Evdokia Nikolova hereby advises this Court that on Friday, July

15, 2022, (after the filing of Plaintiff’s Motion for Judgment (Dkt. 99), Defendant’s Response

(Dkt. 102) and Plaintiff’s Reply (Dkt. 104)), Defendant the University of Texas at Austin emailed

Dr. Nikolova the letter attached as Exhibit I (continuing the number of exhibits from Plaintiff’s

Motion for Judgment and Reply) from the current UT President stating that, “After carefully

reviewing your request for reconsideration [dated March 25, 2019, Plaintiff’s Trial Exhibit 32] . .

. I have decided to recommend to the Board of Regents that you be promoted to associate professor

with tenure effective September 1, 2022. Your nine-month salary will be increased effective the

same day to $132,000 . . .” Plaintiff is reviewing the letter and the impact it may have regarding

Plaintiff’s Motion for Judgment and the issue of front pay. Plaintiff’s counsel has conferred with

counsel for Defendant regarding the matter and anticipates that further briefing will be forthcoming

in the near future from both parties. Plaintiff is providing this information to Court in this manner

because Plaintiff’s Motion for Judgment is currently under consideration and this information may

impact and be relevant to the Court’s ruling.




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                                            Respectfully submitted,

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                                            ATTORNEYS FOR PLAINTIFF


                               CERTIFICATE OF SERVICE

       I hereby certify that on July 19, 2022, this document was served pursuant to Federal Rules
of Civil Procedure on counsel for Defendant through the Court’s electronic filing system at the
following address:

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                                                         By: /s/ Robert W. Schmidt

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